          USCA Case #22-7063       Document #1987967
                               UNITED STATES COURT OF Filed: 02/28/2023
                                                       APPEALS                                     Page 1 of 1

                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
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 Case Caption: American Society for Testing & Materials, e

                                     v.                                     Case No: 22-7063
                    Public.Resource.Org, Inc.


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono     Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)     Appellee(s)/Respondent(s)          Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 American Society of Heating, Refrigerating,

  and Air-Conditioning Engineers, Inc.




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Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
